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                       Exhibit 5
4/6/2021            DECN Case    1:20-cr-00278-TNM
                         to Announce Various Testing Results ThisDocument       15-5 GenViro!
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                      Results This Week for Its COVID-19
                                                                      12/21/2020
                      GenViro! Swift Kit

                      The company and its CEO thank supporters and remain
                      fully committed; company will also provide a series of
                      GenViro! test results it has amassed demonstrating the
                      technology's promise

                      LOS ANGELES, CA / ACCESSWIRE / December 21, 2020
                      / Decision Diagnostics Corp. (OTC PINK:DECN)
                      www.decisiondiagnostics.co, a leading manufacturer
                      and worldwide distributor of diabetic test strips
                      engineered to operate on legacy glucose meters through
                      its subsidiary Pharma Tech Solutions, Inc., as well as the
                      designer and manufacturer of the proposed GenViro!
                      Covid-19 :10 test kits, today announced it is proceeding
                      with nal testing of the GenViro! Covid-19 Saliva Swi
                      Kit and will continue in its e orts to bring this valuable
                      technology to market. Initially, the company will be
                      releasing a series of test results collected from its
                      Korean partner, from the detailed XPRIZE sample
                      testing and as it becomes available, from its US-based
                      testing, all of which will be submitted to the FDA for
                      EUA consideration and, to the extent required,
                      regulators in various foreign countries.

                      At this time, the company and its CEO Keith Berman
                      want to thank its loyal supporters and assure them that
                      the substantial e orts and resources the company has

https://www.otcmarkets.com/stock/DECN/news/DECN-to-Announce-Various-Testing-Results-This-Week-for-Its-COVID-19-GenViro-Swift-Kit?id=284194                  1/4
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                  devoted to getting GenViro! this far will continue. The
                  company believes the release of nearly completed
                  testing results will con rm what it has previously
                  reported; Despite the consistent e orts of outsiders, the
                  Saliva Swi Kit will deliver the e cacy the company has
                  been predicting.

                  The most recent example of outside interference the
                  company and its CEO have experienced involves the
                  XPRIZE competition. As previously announced, the
                  Company had advanced in the XPRIZE competition. Just
                  days before the decision on nalists was to be made, the
                  company was asked by the XPRIZE committee to provide
                  its GenViro! package inserts, meter User's Guide,
                  training video, a 100 word essay describing the e cacy
                  of the product, and a team member picture, not later
                  than Monday December 21, a clear indication that
                  GenViro! could be expected to advance another level in
                  the competition. However, within hours of that request,
                  the same "posters" who have for years maligned and
                  defamed the company and Mr. Berman on public
                  message boards, indicated that they would inform
                  XPRIZE of the governmental lings against Mr. Berman.
                  While we do not presently know exactly what
                  information was provided to XPRIZE, two hours a er
                  the message board taunts were posted, the company's
                  contest agent was informed by XPRIZE that DECN would
                  not be selected as a nalist, even though the requested
                  information had been provided, thereby depriving the
                  company of not only a signi cant potential source of
                  revenue but public accreditation/validation of the test
                  kit. This timing cannot be coincidental and appears to
                  represent the latest example of the extent to which these
                  individuals will go to damage the company, Mr. Berman
                  and most signi cantly its numerous shareholders .

                  ABOUT DECISION DIAGNOSTICS CORP

                  Decision Diagnostics Corp. is the leading manufacturer
                  and worldwide distributor of diabetic test strips
                  engineered to operate on legacy glucose meters for both
                  humans and animals. DECN's products are designed to
                  operate e ciently and less expensively on certain
                  glucose meters already in use by almost 7.5 million
                  diabetics worldwide and with similar legacy devices for
                  animal testing. With newly inspired technology, and
                  diabetic test strips already in the nal stages of
                  development, DECN products compete on a worldwide
                  scale with legacy manufacturers currently selling to 71+
                  percent of a $15+ billion at-home testing market.

                  The company's new GenViro!™ products designed to test
                  for Covid-19 in humans are not yet available in the
                  United States and Puerto Rico and hopefully should be
                  available there soon. Emergency (EUA) Waivers are in
                  process with the U.S. FDA with additional submissions
                  to take place in the near future. The company has a

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                  signed agreement with an FDA and CLIA certi ed US,
                  Pennsylvania-based testing partner to complete testing
                  per current FDA guidelines and continues to look
                  forward to the FDA authorization of its EUAs.

                  The same data that will be produced by the company's
                  Pennsylvania testing partner will be used for
                  submissions to the EU, Russian Federation and
                  elsewhere. The company will also use data provided by
                  its Korean R&D and contract manufacturing partner as
                  part of their extensive product development schedule as
                  well as the recently reported and better than anticipated
                  XPRIZE testing results that have been submitted for
                  consideration as yet a third validation of the testing
                  methodology.

                  Beyond the testing, the company has received word
                  from several of its large GenUltimate! blood glucose
                  product distributors who are seeking to have GenViro!
                  added to their Amazon product o erings upon FDA
                  approval. Currently, Amazon only o ers special licenses
                  for point of care and professional use medical products,
                  which would preclude the individual use GenViro! Kit
                  from being available on Amazon, even a er FDA
                  approval is secured. The pet test kit will not require a
                  special Amazon license.

                  The company continues to recruit and accept
                  applications from prospective domestic and
                  international distributors. Inquiries can be directed
                  to: info@decisiondiagnostics.co.

                  Forward-Looking Statements:

                  This release contains the company's forward-looking
                  statements which are based on management's current
                  expectations and assumptions as of December 21, 2020,
                  regarding the company's business and performance, its
                  prospects, current factors, the economy, and other
                  future conditions and forecasts of future events,
                  circumstances, and results.

                  CONTACT INFORMATION:

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                  info@decisiondiagnostics.co
                  www.genultimate.com
                  www.genultimatetbg.com
                  www.pharmatechdirect.com

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                  sdoniger@bdcginc.com

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